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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  TEXARKANA DIVISON


JASON FILES, Special Administrator of )
The Estate of Melenta Zekanovic, Deceased,)
and His Surviving Heirs and Dependents, )
                                              )     CIVIL ACTION No. /        ~ - !/v<;zu
                                Plaintiffs,   )
                                              )
vs.                                           )
                                              )
UNITED PARCEL SERVICE, INC.                   )
and MYRTIS EASTER,                            )
                                              )
                                Defendants.   )

                                      NOTICE OF REMOVAL

         Defendant Myrtis Easter ("Easter") hereby removes this action pursuant to 28 U.S.C.

§§ 1441 and 1446 from the Circuit Court of Hempstead County, Arkansas (29CV-16-87-1) to the

United States District Court for the Western District of Arkansas, Texarkana Division. In support

of removal, Easter states the following:

                                     PROCEDURAL HISTORY

         1.    On June 17, 2016, the above captioned lawsuit was instituted by Plaintiff Jason

Files, Special Administrator of The Estate of Melenta Zekanovic, Deceased ("Plaintiff'), and is

now pending in the Hempstead County Circuit Court. (A true and correct copy of the Complaint is

annexed hereto as Exhibit A.)

         2.    On June 28, 2016, Easter was served with a copy of the Complaint. Pursuant to 28

U.S.C. § 1446(a), all process, pleadings, and orders served upon Easter in this action are attached

hereto. The time for Easter to answer or otherwise plead in response to the Complaint has not
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expired, and Easter has not yet filed an answer or other responsive pleading to the Complaint. Ark.

Ct. R. 6.

        3.      Defendant United Parcel Service, Inc. ("UPS") has not, at the time of this writing,

been formally served with process.

                                     NOTICE OF REMOVAL

        4.      This Notice of Removal is timely because it is filed within 30 days of the receipt by

Easter of the Complaint. 28 U.S.C. § 1446(b)(l). The Complaint was served on Easter on June 28,

2016. This Notice is being filed within 30 days of that service.

                                          JURISDICITON

        5.      This action is one of a civil nature over which this Court has original jurisdiction

based upon the diversity of citizenship under 28 U.S.C. § 1332.

        6.      Plaintiff was, at the time his Complaint was filed, and is at time of this writing,

diverse from all of Defendants.

        7.      The amount in controversy exceeds the jurisdictional sum of $75,000, exclusive of

interest and cost.

                                CITIZENSHIP OF THE PARTIES

        8.      The decedent, Melenta Zekanovic, was a resident of Kitchener, Ontario, Canada, at

the time of his death. Pursuant to 28 U.S.C. § 1332(c)(2), Plaintiff shall be deemed to be a citizen

only of the same State as the decedent.

       9.       Easter is a resident of Pulaski County, Arkansas.

       10.     UPS is an Ohio corporation with a principal place of business in Atlanta, Georgia.




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                                  AMOUNT IN CONTROVERSY

        11.    The amount in controversy exceeds the jurisdictional sum of $75,000, exclusive of

interest and costs. (Exhibit A at p. 4.)

                                     CONSENT TO REMOVE

        12.    Easter has obtained the consent of his employer, UPS, to remove this action from

the Hempstead County Circuit Court to the United States District Court for the Western District of

Arkansas.

       13.     Easter will serve on Plaintiff's counsel a true and correct copy of this Notice of

Removal. 28 U.S.C. § 1446(d). Easter will file with the Circuit Court of Hempstead County,

Arkansas a true and correct copy of this Notice of Removal.

       WHEREFORE, Defendant Myrtis Easter hereby removes this action to this Court for

further proceedings at law.

                                            Respectfully Submitted,

                                            James C. Baker, Jr.
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                                           Attorneys.for Defendants
                                           United Parcel Service, Inc. and Myrtis Easter




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                              CERTIFICATE OF SERVICE

        I, JAMES C. BAKER, JR., hereby certify that a copy of the above and foregoing has
been served on the following counsel of record by the USDC Electronic Notification System and
by electronic mail, this 7th day of July, 2016.

Matthew E. Hartness, Esq.
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